
USCA1 Opinion

	




          September 28, 1993                            UNITED STATES COURT OF APPEALS                                FOR THE FIRST CIRCUIT                              _________________________          No. 93-1171                              VOTE CHOICE, INC., ET AL.,                                Plaintiffs, Appellees,                                          v.                           JOSEPH DiSTEFANO, ETC., ET AL.,                                Defendants, Appellees.                              _________________________                                  ELIZABETH LEONARD,                                Plaintiff, Appellant.          No. 93-1236                              VOTE CHOICE, INC., ET AL.,                                Plaintiffs, Appellees,                                          v.                           JOSEPH DiSTEFANO, ETC., ET AL.,                               Defendants, Appellants.                               _______________________                                     ERRATA SHEET
                                     ERRATA SHEET               The  order of  the  court  issued  on  August  31,  1993  is          corrected as follows:               On page  24, lines  14, 15  and 16      replace the  cite to          "Adams v. Watson, . . . slip op. at 7 n.8]." with "Association of
           _____    ______                                   ______________          Data Processing Serv. Orgs. v. Camp, 397 U.S. 150, 153 (1970)."
          ___________________________    ____

                 [SYSTEMS NOTE: Appendix available at Clerk's Office]          August 31, 1993   UNITED STATES COURT OF APPEALS                                FOR THE FIRST CIRCUIT                              _________________________          No. 93-1171                              VOTE CHOICE, INC., ET AL.,                                Plaintiffs, Appellees,                                          v.                           JOSEPH DiSTEFANO, ETC., ET AL.,                                Defendants, Appellees,                              _________________________                                  ELIZABETH LEONARD,                                Plaintiff, Appellant.                              _________________________          No. 93-1236                              VOTE CHOICE, INC., ET AL.,                                Plaintiffs, Appellees,                                          v.                           JOSEPH DiSTEFANO, ETC., ET AL.,                               Defendants, Appellants.                              _________________________                    APPEALS FROM THE UNITED STATES DISTRICT COURT                           FOR THE DISTRICT OF RHODE ISLAND                [Hon. Raymond J. Pettine, Senior U.S. District Judge]
                                          __________________________                              _________________________                                        Before                        Selya, Cyr and Boudin, Circuit Judges.
                                               ______________                              _________________________               Neal  J. McNamara,  with  whom Matthew  F.  Medeiros was  on
               _________________              _____________________          brief,  for plaintiff  Elizabeth  Leonard (No.  93-1171) and  for          plaintiffs-appellees (No. 93-1236).               Donald  J.  Simon, with  whom  Sonosky,  Chambers, Sachse  &amp;
               _________________              _____________________________          Endreson was on brief for Common Cause  and Common Cause of R.I.,
          ________          amici curiae (No. 93-1171).               Anthony J. Bucci,  Jr., with  whom Licht &amp;  Semonoff was  on
               ______________________             _________________          brief, for defendants Joseph DiStefano, et al.               Donald  J.  Simon, with  whom  Sonosky,  Chambers, Sachse  &amp;
               _________________              _____________________________          Endreson,  Roger M. Witten, Carol F. Lee, W. Hardy Callcott, Eric
          ________   _______________  ____________  _________________  ____          J.  Mogilnicki, and Wilmer, Cutler &amp; Pickering were on brief, for
          ______________      __________________________          Common  Cause and  Common Cause  of R.I.,  amici curiae  (No. 93-          1236).                              _________________________                              _________________________

                    SELYA,  Circuit Judge.    These  consolidated  appeals,
                    SELYA,  Circuit Judge.
                            _____________          which  implicate  various  aspects  of  Rhode  Island's  campaign          finance  law,  necessitate the  exploration of  largely uncharted          constitutional terrain.   One appeal, prosecuted on behalf of the          state, seeks  to reinstate a statute  requiring certain political          action committees  (PACs)1  to  disclose  information  about  all          their  contributors.     The  other  appeal,   prosecuted  by  an          unsuccessful gubernatorial candidate, Elizabeth Leonard, inveighs          against  state   statutes  that  bestow  special   advantages  on          candidates who comply  with eligibility  requirements for  public          campaign  financing.   At  the end  of  our journey  across terra
                                                                      _____          incognita,   we   conclude   that   the   district   court  acted
          _________          appropriately both  in striking down the  first dollar disclosure          requirement   and   in   upholding   the   incentive  provisions.          Therefore, we affirm.          I. BACKGROUND
          I. BACKGROUND                    Before addressing  the merits, we offer  an overview of          Rhode Island's campaign finance  law and a brief synopsis  of the          proceedings  below.   In  so  doing,  we  strive  to  place  each          challenged  provision in  its  overall statutory  context and  to                              
          ____________________               1Rhode Island law defines a PAC as                    any group  of two  (2) or more  persons which                    accepts  any  contributions  to  be  used for                    advocating  the election  or  defeat  of  any                    candidate  or  candidates or  to be  used for                    advocating  the approval or  rejection of any                    question  or  questions   submitted  to   the                    voters.          R.I. Gen. Laws   17-25-3(j) (Supp. 1992).                                          3

          describe the nature of the disagreement surrounding it.                    A.  Statutory Framework:  The State's Appeal.
                    A.  Statutory Framework:  The State's Appeal.
                        ________________________________________                    Rhode Island has a set of laws regulating the financing          of state and local election campaigns.  See R.I. Gen. Laws    17-
                                                  ___          25-1 to 17-25-30.1 (1988 &amp; Supp.  1992).  The entity charged with          primary responsibility  for implementing these laws  is the Rhode          Island Board of Elections.  See id. at   17-25-5.
                                      ___ ___                    Rhode  Island law  directs all  PACs and  candidates to          file reports  with the Board  of Elections at  regular intervals.          See id. at    17-25-11.  The  Board then "prepare[s]  and make[s]
          ___ ___          available  for public inspection . . . summaries of all reports."          Id.  at   17-25-5(a)(4).   The reports  are to include  the name,
          ___          address, and  place  of  employment of  every  person  or  entity          contributing  more than $100  to the reporting  PAC or candidate.          See id. at   17-25-7.
          ___ ___                    In 1992, the Rhode Island General Assembly, desirous of          ensuring that the  voting public  possesses accurate  information          about  organizations  whose  contributions and  expenditures  may          influence  elections, devised  extra  reporting  obligations  for          PACs.   Every PAC  now must file  a notice listing  its goals and          purposes, the positions it plans to advocate on ballot questions,          the names of any candidates it intends  to support, and the names          and  addresses  of  its officers.    See  id.  at    17-25-15(a).
                                               ___  ___          Moreover,  every  PAC must  report the  name  and address  of all          persons to whom it makes expenditures,  indicating the amount and          purpose of  each such payment.  See id. at   17-25-15(c)(2).  The
                                          ___ ___                                          4

          Board of Elections  is empowered  to halt PACs  from using  names          which  are  misleading or  which  do  not accurately  identify  a          committee's membership and contributor base.  See id. at   17-25-
                                                        ___ ___          15(d).                    Under the neoteric amendments, PACs must also  "include          in each report required to be filed . . . [t]he source and amount          of  all funds  received."  Id.  at   17-25-15(c)(1).   This added
                                     ___          requirement of "first  dollar disclosure"   the duty  to disclose          the identity of, and  the amount given by, every  contributor, no          matter  how modest the contribution    applies to  most PACs, but          does not  apply in the same way to PACs sponsored by labor unions          or  those which are funded  through payroll checkoff  plans.  See
                                                                        ___          id.  The requirement does not apply to candidates at all.
          ___                     B.  Statutory Framework:  Leonard's Appeal.
                     B.  Statutory Framework:  Leonard's Appeal.
                         ______________________________________                    In addition to regulating campaign contributions, Rhode          Island also affords public  funding to gubernatorial candidates.2          See id.  at   17-25-18.   Candidates may elect whether  or not to
          ___ ___          accept such funds.  See, e.g., id. at   17-25-19.  If a candidate
                              ___  ____  ___          elects   to  participate,   and   meets  the   law's  eligibility          requirements,3  the state  will match  money raised  from private                              
          ____________________               2From  and after  January  1, 1993,  candidates for  certain          other  statewide  offices are  also  eligible  to receive  public          funding.    See  R.I. Gen.  Laws     17-25-20.   Withal,  because
                      ___          Leonard's  appeal arises in the context of the 1992 elections, we          limit our discussion to gubernatorial candidates.               3The  eligibility criteria are set forth in R.I. Gen. Laws            17-25-20.   We  attach  a statutory  appendix  that includes  key          provisions of Rhode  Island's campaign finance law as  they stood          in the time frame of the 1992 elections.                                          5

          sources up  to a maximum of  $750,000.  See  id.  In  return, the
                                                  ___  ___          state requires  participants to  observe certain  restrictions on          campaign spending and related activities.                    A  candidate must signify a  desire to use public funds          for  campaign  purposes  upon   formally  declaring  his  or  her          candidacy  for office.4    See id.    A candidate  choosing  this
                                     ___ ___          option  must sign a sworn  statement pledging to  comply with the          various terms and conditions of  the grant.  See id. at    17-25-
                                                       ___ ___          20(1).    Once  made or  omitted,  the  election  and pledge  are          irrevocable.  See id. at    17-25-19, 17-25-20(1).  Thereafter, a
                        ___ ___          participating   candidate   must   meet   the   law's   threshold          requirements,  limit the use of public  funds received to certain                              
          ____________________               4Under  Rhode  Island  law, persons  seeking  state elective          office  must file formal declarations of candidacy in June of the          year in which  the election is to be held.   See R.I. Gen. Laws  
                                                       ___          17-14-1.   For purposes of  the campaign finance  act, however, a          person may be considered a candidate at an earlier time:                         The    term   "candidate"    means   any                    individual who undertakes any action, whether                    preliminary  or  final,  which  is  necessary                    under the  law to qualify for  nomination for                    election,  or  election  to   public  office,                    and/or   any   individual   who  receives   a                    contribution or makes an expenditure or gives                    his or  her consent  for any other  person to                    receive a contribution or make an expenditure                    with  a view  to  bringing about  his or  her                    nomination  or election to any public office,                    whether or not the specific public office for                    which  he  or  she will  seek  nomination  or                    election   is   known   at   the   time   the                    contribution is received  or the  expenditure                    is  made and  whether or  not he  or she  has                    announced his  or  her candidacy  or filed  a                    declaration of candidacy at that time.          R.I. Gen. Laws   17-25-3(a).                                          6

          enumerated purposes,  compare R.I. Gen. Laws    17-25-20(7) &amp; (8)
                                _______          (listing permissible  uses) with  id. at    17-25-7.2 (describing
                                      ____  ___          permissible  uses of  privately raised  funds), abide  by overall          expenditure  ceilings and fundraising caps,5  see, e.g., id. at  
                                                        ___  ____  ___          17-25-20(2),  and return  a percentage  of any  unexpended funds.          See id. at   17-25-25.
          ___ ___                    To make  the offer of public  financing more attractive          and thereby increase participation,  the 1992 amendments included          a contribution cap gap.  A candidate can ordinarily receive up to          $1,000 from any  given person or PAC  in a single  calendar year.          See id. at    17-25-10.1.  The  amendment doubled this limit  for
          ___ ___          publicly funded candidates, see id. at   17-25-30(3), and, in the
                                      ___ ___          bargain, created a  cap gap between privately and publicly funded          candidates.   At  the same  time, the  legislature ordained  that          candidates who  comply with  the eligibility criteria  for public          financing would be                    [e]ntitled  to an additional  benefit of free                    time  on community  antenna television  to be                    allocat[ed] pursuant to  rules determined  by                    the administrator for the division  of public                    utilities.          Id.;  see  also id.  at     17-25-30.1 (obligating  state  public
          ___   ___  ____ ___          utilities  administrator to  formulate  relevant  rules).    Such          candidates  are  also  entitled  to  "free  time  on  any  public                              
          ____________________               5A publicly  financed candidate may exceed these limits if a          privately funded  opponent exceeds them.    See R.I. Gen.  Laws  
                                                      ___          17-25-24.     Nevertheless,   the  publicly   financed  candidate          confronts  a temporal impediment; he or  she may raise additional          money  only in  proportion to  the amount  already expended  by a
                                                     _______ ________          privately funded opponent.  See id.
                                      ___ ___                                          7

          broadcasting  station operating  under  the  jurisdiction of  the          Rhode Island public telecommunications authority."   Id. at   17-
                                                               ___          25-30(2).                                C.  Proceedings Below.
                                C.  Proceedings Below.
                                    _________________                    Two  PACs (Vote  Choice  and Gun  Owners PAC),  certain          individuals who wish to  contribute anonymously to each, and  the          Rhode  Island affiliate  of  the American  Civil Liberties  Union          brought suit in the district court seeking to enjoin the Board of          Elections from enforcing  R.I. Gen. Laws    17-25-15(c)(1).  They          posited  that  the provision  self-destructed  on  three separate          bases,  viz., (1) the first amendment bars any attempt to mandate
                  ____          first  dollar disclosure  of political  contributors' identities;          (2) Rhode Island's  first dollar disclosure  law, when placed  in          its  statutory  context,  places   an  impermissible  burden   on          associational rights;  and (3) the proviso  denies the plaintiffs          equal  protection.   The Board  and two  amici, Common  Cause and          Common Cause of Rhode  Island, eventually took up the  cudgels in          defense.                    In  the same  complaint, Leonard  sought to  enjoin the          Board  of   Elections,  the  Rhode  Island   Division  of  Public          Utilities,  and   the  Rhode  Island   Public  Telecommunications          Authority  from implementing  the  contribution cap  gap and  the          free-television-time  incentive  provisions.6    She  argued that                              
          ____________________               6The chief executive  officer of  each entity,  sued in  his          official  capacity, is a named defendant.   Clearly, however, the          state  is the  real  party in  interest.   We  treat  the appeals          accordingly.                                          8

          these enactments  violate the  first  amendment in  a variety  of          ways, and, moreover,  that federal law, specifically  47 U.S.C.            315 (1988), preempts the statutory grant of free television time.          The  state resisted  these exhortations  on the  merits  and also          contended that Leonard lacked standing because she did not face a          publicly  funded opponent  in the  general election.7   The amici          supported the state's position.                    The district  court merged  the hearing  on preliminary          injunction  with  trial on  the  merits.   See  Fed.  R. Civ.  P.
                                                     ___          65(a)(2).  After  taking testimony, the  court held first  dollar          disclosure,  in  and  of   itself,  to  be  unconstitutional  and          invalidated R.I. Gen. Laws    17-25-15(c)(1) on that basis.   See
                                                                        ___          Vote  Choice  v. DiStefano,  814  F. Supp.  195,  199-202 (D.R.I.
          ____________     _________          1993).   The court also ruled that, although Leonard had standing          to mount  a constitutional challenge, id. at 204, her contentions
                                                ___          were impuissant.   See id. at  207.  The  Board appeals from  the
                             ___ ___          district  court's  nullification of  the first  dollar disclosure          rule and Leonard appeals  from the court's refusal to  outlaw the          contribution cap gap and the free-television-time incentives.          II.  THE STATE'S APPEAL
          II.  THE STATE'S APPEAL                    The first amendment is incorporated into the fourteenth          amendment and, in  that way,  constrains state action.   See  New
                                                                   ___  ___          York Times Co. v.  Sullivan, 376 U.S. 254, 276-77  (1964) (ruling
          ______________     ________                              
          ____________________               7Leonard  sought  the  Republican  nomination  for  governor          without party endorsement.  She prevailed in the primary election          and  carried the party's standard  in the general  election.  She          did  not opt  for public  funding.  Her  opponent in  the general          election, Governor Sundlun, likewise eschewed public funding.                                          9

          that the free  speech clause  applies to the  states through  the          fourteenth  amendment;  collecting  cases).     Accordingly,  our          consideration of  R.I. Gen. Laws    17-25-15(c)(1) starts  with a          discussion of  whether  first dollar  disclosure  provisions  are          always repugnant to the first amendment.  Concluding (contrary to          the  court below) that they are  not, we then examine whether the          particular first dollar disclosure provision here at issue passes          the test of constitutionality.                              A.  The Per Se Challenge.
                              A.  The Per Se Challenge.
                                  ____________________                    The district court struck down R.I. Gen. Laws    17-25-          15(c)(1) as per  se violative of the  first amendment, concluding
                      ___  __          that a state legislature "must establish at least some [non-zero]          minimum threshold  for  public  disclosure  of  contributions  to          PACs."  Vote Choice, 814  F. Supp. at 202.  Because  this holding
                  ___________          deals with a  matter of law rather than fact    it rests squarely          on  the  district  court's  sculpting of  the  first  amendment's          contours    our review is plenary.   See LeBlanc v. B.G.T. Corp.,
                                               ___ _______    ____________          992 F.2d 394, 396 (1st Cir. 1993).                    It is old hat  that compelled disclosure of information          about  a person's political contributions "can seriously infringe          on  [the] privacy  of  association and  belief guaranteed  by the          First Amendment."  Buckley  v. Valeo, 424 U.S. 1, 64  (1976) (per
                             _______     _____          curiam)  (collecting  cases).   Thus,  courts  routinely  subject          statutes mandating revelation of contributors'  identities in the          arena  of  political speech  to  exacting scrutiny.    See, e.g.,
                                                                 ___  ____          Gibson v. Florida Legislative  Investigation Comm., 372 U.S. 539,
          ______    ________________________________________                                          10

          546  (1963).  A disclosure statute may survive such scrutiny only          if it satisfies a two-part test:  (1) the statute as a whole must          serve a  compelling governmental interest, and  (2) a substantial          nexus must exist  between the served interest and the information          to  be revealed.   See  Brown v.  Socialist Workers  '74 Campaign
                             ___  _____     _______________________________          Comm., 459 U.S. 87, 91-92 (1982); Buckley, 424 U.S. at 64.
          _____                             _______                    With respect to the  test's first prong, no  fewer than          three governmental  interests have proven sufficient,  in varying          circumstances, to justify  obligatory disclosure of contribution-          related information.   Thus,  forced disclosure may  be warranted          when the spotlighted information enhances voters' knowledge about          a candidate's possible allegiances and interests, inhibits actual          and apparent corruption by exposing large contributions to public          view, or  aids state officials in  enforcing contribution limits.          See Brown, 459  U.S. at 92; Buckley, 424 U.S.  at 66-68.  Because
          ___ _____                   _______          R.I.  Gen. Laws   17-25-15(c)(1),  read as part  of an integrated          whole,   plainly satisfies this  prong of the test    indeed, the          Rhode Island  statute appears to  advance the three  interests we          have mentioned in much the same fashion as did the statute before          the Buckley Court   we proceed directly to the difficult question
              _______          of whether a substantial  relationship exists between the precise          modicum  of  information  required   to  be  disclosed  and  some          compelling state interest.                    We agree with the plaintiffs that, in certain respects,          the fit required to meet the test's second prong is  lacking.  As          the  disclosure threshold drops toward zero, the bond between the                                          11

          information  revealed and  the  governmental  interests  involved          becomes weaker and, therefore, more tenuous.  See, e.g., Buckley,
                                                        ___  ____  _______          424  U.S. at 83-84.  Common sense suggests that information about          the  source of  a $1  contribution does  not advance  the state's          interest in deterring actual  or apparent corruption because such          a donation has a limited (perhaps nonexistent) potential to exact          an  illegal  or  unethical   quid  pro  quo.     Similarly,  such
                                       ____  ___  ___          information  bears little  discernible  relation  to the  state's          interest in enforcing contribution limits  that dip no lower than          $1,000:  few persons will donate  $1 to a PAC on more than  1,000          separate occasions    and those  that try will  likely grow  arm-          weary in the process.                    But,  viewed from  another, equally proper,  angle, the          fit  is  quite  comfortable:   signals  are  transmitted  about a          candidate's positions  and concerns not only  by a contribution's          size  but  also by  the contributor's  identity.   See  Goland v.
                                                             ___  ______          United  States, 903  F.2d  1247, 1261  (9th  Cir. 1990);  FEC  v.
          ______________                                            ___          Furgatch,  807 F.2d 857, 862  (9th Cir.), cert.  denied, 484 U.S.
          ________                                  _____  ______          850 (1987); see also First Nat'l  Bank v. Bellotti, 435 U.S. 765,
                      ___ ____ _________________    ________          791-92 &amp; n.32 (1978) (discussing required disclosure of corporate          advertisers'  names).   Since  the identity  of a  contributor is          itself  informative,   quite  apart   from  the  amount   of  the          contribution, a  candidate's ideological  interests may  often be          discerned  as clearly  from  a $1  contribution  as from  a  $100          contribution.  Hence,  we conclude  that there  is a  substantial          link between  data revealed  by first dollar  disclosure and  the                                          12

          state's compelling  interest in  keeping the  electorate informed          about which constituencies may command a candidate's loyalties.8                    Buckley   buttresses  this   conclusion.     There,  in
                    _______          evaluating  whether  a $10  recordkeeping  threshold  and a  $100          disclosure  threshold  passed  constitutional  review,  the Court          admonished that  decisions about "the appropriate  level at which          to  require  recording and  disclosure"  are "necessarily  .  . .          judgmental" and, therefore, best  left to legislative discretion.          Buckley,  424 U.S. at 83.  Consequently, so long as legislatively
          _______          imposed limitations are not "wholly  without rationality," courts          must defer  to the legislative  will.   Id.  We  think that  this
                                                  ___          approach  is fully transferable to the instant case.  Because the          notion  of  first dollar  disclosure  is not  entirely  bereft of          rationality    as we  have already indicated,  such a requirement          relates to  at least one sufficiently cogent informational goal            any  general embargo  against  first  dollar disclosure  statutes          would be  inconsistent with  the Buckley Court's  insistence upon
                                           _______          judicial deference to plausible legislative judgments.                    Nor  does  Buckley  stand   alone  in  support  of  the
                               _______          conclusion  that the  Constitution  does not  prohibit all  first
                                                                 ___                              
          ____________________               8In  this respect,  the  goal of  enhancing voter  awareness          about the interests  to which  a candidate may  be responsive  is          separate and distinct from the goal of thwarting corruption.  The          former  is best served by compulsory disclosure of data about all          the various  sorts of philosophical and  ideological interests to          which  a candidate may be  sensitive while the  latter is equally          well  served by  targeting  a particular  form  of quid  pro  quo
                                                             ____  ___  ___          "responsiveness."   See  generally  Buckley, 424  U.S. at  66-68.
                              ___  _________  _______          While first dollar  disclosure furthers the former goal,  it does          not meaningfully advance the latter goal.                                          13

          dollar disclosure statutes.  Other trail markers, like spoor  for          the cognoscenti, lead in  the same direction.  See,  e.g., Brown,
                                                         ___   ____  _____          459 U.S. at 89 &amp; n.2 (specifically noting that a statute mandated          first dollar  disclosure, yet  failing to identify  any potential          constitutional infirmity); Citizens Against Rent Control v.  City
                                     _____________________________     ____          of Berkeley,  454 U.S. 290,  300 (1981) (stating  that "if  it is
          ___________          thought  wise, legislation  can outlaw  anonymous contributions")          (dictum); cf. California  Bankers Ass'n v. Schultz, 416  U.S. 21,
                    ___ _________________________    _______          55-56  (1974) (holding that the first amendment does not create a          per  se rule  forbidding disclosure of  contributor names  in all
          ___  __          situations); Oregon  Socialist  Workers 1974  Campaign  Comm.  v.
                       ________________________________________________          Paulus, 432 F. Supp. 1255, 1260 (D. Or. 1977) (three-judge court)
          ______          (upholding   first  dollar   recordkeeping  and   partial  public          disclosure threshold).                    We  hold that  first dollar  disclosure is not,  in all          cases,  constitutionally proscribed.    Because  the court  below          struck down R.I. Gen. Laws   17-25-15(c)(1) on this very ground            it  said, in  essence, that  first dollar  disclosure necessarily          leaves insufficient breathing room for first amendment  freedoms,          see Vote Choice, 814 F.  Supp. at 202   our consideration  of the
          ___ ___________          statute's  constitutionality  must  probe the  plaintiffs'  other          rationales.  After all, a judgment, although arrived at by faulty          reasoning, still  can  be sustained  on  some other  ground  made          manifest by the record.   See, e.g., Martel v. Stafford, 992 F.2d
                                    ___  ____  ______    ________          1244, 1245 (1st  Cir. 1993);  Chongris v. Board  of Appeals,  811
                                        ________    _________________          F.2d 36, 37 n.1  (1st Cir.), cert. denied, 403  U.S. 1021 (1987).
                                       _____ ______                                          14

          We  turn, then, to  the plaintiffs' next  theory   a  theory that          shifts from an exclusive focus on whether first dollar disclosure          provisions  are ever  permissible  to a  more  holistic focus  on          whether  Rhode Island's  disclosure  requirement,  considered  in          light  of the  state's overall  campaign finance  law, withstands          constitutional scrutiny.                            B.  The Contextual Challenge.
                            B.  The Contextual Challenge.
                                ________________________                    It  is apodictic  that  courts, when  passing upon  the          constitutionality of a  statutory provision, must view  it in the          context of the  whole statutory scheme.  See Storer v. Brown, 415
                                                   ___ ______    _____          U.S. 724, 737 (1974); Williams v. Rhodes, 393 U.S. 23, 34 (1968).
                                ________    ______          Here, plaintiffs'  contextual challenge centers  on the disparity          between the first dollar disclosure threshold applicable to those          who choose to pool money by making contributions  to PACs and the          $100 disclosure threshold applicable  to those who choose to  act          alone by  making direct contributions and  expenditures.  Compare
                                                                    _______          R.I.  Gen.  Laws      17-25-15(c)(1)  with  id.  at      17-25-7.
                                                ____  ___          Plaintiffs  say   that  this  disparity  not   only  burdens  PAC          contributors'  first amendment  rights  of association  but  also          undermines Rhode  Island's boast that first  dollar disclosure of          PAC contributions  represents a rationally selected device geared          toward  achieving   a  compelling   state  interest.     We  find          plaintiffs' analysis to be convincing.                    The  first  amendment  frowns  upon laws  which  burden          associational rights,  particularly  in the  sphere of  political          speech.  The more  lopsided the burdens, the more  probable it is                                          15

          that a constitutional  infirmity looms.   Thus, in Berkeley,  the
                                                             ________          Supreme Court struck down a  limitation on contributions to PACs,          resting its holding not on the impermissibility of the limits per
                                                                        ___          se,  but, rather, on the  disparity between those  limits and the
          __          limits applicable  to  persons who,  for one  reason or  another,          preferred not to pool their resources:                    To  place a  Spartan  limit    or indeed  any                    limit     on   individuals  wishing  to  band                    together to  advance their views on  a ballot                    measure,  while  placing none  on individuals                    acting alone,  is clearly a restraint  on the                    right  of association.  [Laws which] do[] not                    seek to mute the voice of one individual .  .                    . cannot  be allowed to hobble the collective                    expressions of a group.          Berkeley, 454 U.S. at 296.
          ________                    We   believe   that  this   passage   enunciates  three          fundamental  precepts.  First, any law that burdens the rights of          individuals to  come together  for political purposes  is suspect          and  must  be  viewed   warily.    Second,  burdens   which  fall          exclusively on those who  choose to exercise their right  to band          together, leaving  individual speakers unbowed,  merit heightened          scrutiny.   Third,  measures which hinder  group efforts  to make          independent expenditures  in  support  of  candidates  or  ballot          initiatives are particularly vulnerable to constitutional attack.          The  first two  precepts derive  in part  from the  importance of          group  expression as a method  of amplifying the  voices of those          with meager  means.  See  FEC v. National  Conservative Political
                               ___  ___    ________________________________          Action  Comm., 470  U.S. 480,  493-94 (1985)  (collecting cases);
          _____________          Buckley, 424  U.S. at 65-66.   The last  precept derives in  part
          _______                                          16

          from the fact that independent expenditures, because they have  a          more  attenuated connection  with a  particular candidate,  are a          less likely source for quid pro quo corruption and a questionable
                                 ____ ___ ___          indicator  of candidate loyalties.   See Buckley, 424  U.S. at 39
                                               ___ _______          (noting  that independent expenditures  are "at  the core  of our          electoral process and of the First Amendment freedoms") (citation          and internal quotation marks omitted).                    In Berkeley, these three  precepts coalesced to scuttle
                       ________          a contribution cap.   See 454 U.S. at 296.   The case at bar is a
                                ___          fair congener.   Here, as in  Berkeley, the challenged  enactment
                                        ________          hobbles  collective expression by  mandating that groups disclose          contributors'  identities  and  the  extent  of  their   monetary          support, no matter  how tiny.   This, in itself,  is a red  flag.          See  Buckley,   424  U.S.   at  64  (observing   that  "compelled
          ___  _______          disclosure,  in  itself, can  seriously  infringe  on privacy  of          association   and   belief");   id.   at   83   (observing   that
                                          ___          "[c]ontributors  of relatively  small  amounts are  likely to  be          especially   sensitive  to  recording   or  disclosure  of  their          political preferences").  Here, as in Berkeley, the statute has a
                                                ________          much  less  stringent  rule   for  those  who  prefer  individual          expression  to collective expression.  Here,  as in Berkeley, the
                                                              ________          statute  imposes its  one-sided  burden regardless  of whether  a          group's members have banded together to contribute  directly to a          candidate  or  to  make  independent  expenditures  concerning  a                                          17

          candidate  or referendum.9  We  think that these  three points of          comparison  accurately foretell  that here,  as in  Berkeley, the
                                                              ________          statute cannot stand.                    The state strives  valiantly to avoid the force of this          comparison.  It says that, even if section 17-25-15(c)(1) burdens          associational   rights   to  some   moderate   extent,  the   law          nevertheless merits enforcement under  the rubric of  legislative          prerogative.  We  disagree.  While legislative judgments  must be          given a wide  berth, judicial deference should  never be confused          with outright capitulation.   Federal courts would abdicate their          constitutional  responsibility  if  they  were   to  rubber-stamp          whatever constructs a state legislative body might propose.  And,          in  any  event, judicial  deference  to legislative  line-drawing          diminishes when  the lines are disconnected,  crooked, or uneven.          So it  is here:   the  Rhode Island General  Assembly has  made a          series  of conflicting  judgments  about  appropriate  disclosure          thresholds without offering any legally  satisfactory explanation          for its pererrations.                    This  zigging  and  zagging  is  of  especial   concern          because,   when  citizens  engage  in  first  amendment  activity          affecting  elections,  the  state's  interest  in  disclosure  is          generally  a constant, that is, the state's interest "is the same          whether  or  not  [the  individual  actors]  are  members  of  an                              
          ____________________               9Under Rhode Island  law, PACs  may form  for the  exclusive          purpose of promoting or opposing ballot questions.  See R.I. Gen.
                                                              ___          Laws   17-25-15(f).  A  PAC formed for such a purpose  is subject          to the first dollar disclosure requirement.                                          18

          association."  Minnesota State  Ethical Practices Bd. v. National
                         ______________________________________    ________          Rifle Ass'n, 761 F.2d 509, 513 (8th Cir. 1985), cert. denied, 474
          ___________                                     _____ ______          U.S. 1082 (1986); see  also New Jersey Citizens Action  v. Edison
                            ___  ____ __________________________     ______          Township,  797 F.2d  1250, 1265  (3d Cir.  1986)  (requiring that
          ________          government demonstrate a special  risk stemming from a particular          form of first amendment  activity in order to justify  disclosure          requirements for that form  of activity), cert. denied,  479 U.S.
                                                    _____ ______          1103 (1987).  Rhode Island, in  one fell swoop, not only departed          from the usual rule of constancy but also imported a particularly          virulent strain of  unevenness into its  statutory scheme:   most          PACs must disclose the  identity of every contributor, regardless          of  amount,   while  individual  candidates   need  disclose  the          identities only of contributors who donate upwards of $100.                    This  imbalance   does  not  cater  to  any  cognizable          government interest.  It  does not serve the state's  interest in          combatting  corruption because  corruption can  as easily  spring          from  direct  contributions to  candidates as  from contributions          that  flow  through  PACs.     And,  if  the  danger   that  tiny          contributions  will  foment corruption  is  not  great enough  to          justify significant inroads on  first amendment rights, see supra
                                                                  ___ _____          Part II(A), it is certainly not great enough to justify disparate          treatment  of PACs.  Similarly, the unevenness does not serve the          state's interest in enforcing its contribution limits; after all,          the district  court found no evidence that PAC contributors might          try  to  subvert  the  $1,000 cap  by  an  endless  stream  of $1          donations.  See Vote Choice, 814 F. Supp. at 202.
                      ___ ___________                                          19

                    Finally, the  interest in an informed  citizenry cannot          justify   the  disparity  at  issue  here.    To  be  sure,  when          contributors'  identities are  made  public, the  name of  a PAC,          standing alone, could  in some  states have little  meaning to  a          large segment of the electorate.  See California Medical Ass'n v.
                                            ___ ________________________          FEC, 453  U.S. 182, 201 (1981) (observing that "entities hav[ing]
          ___          differing structures and  purposes .  . .  may require  different          forms  of regulation  in order  to protect  the integrity  of the          electoral process"); see  also Austin v. Michigan  St. Chamber of
                               ___  ____ ______    ________________________          Commerce, 494 U.S. 652, 668 (1990); FEC v. National Right to Work
          ________                            ___    ______________________          Comm., 459 U.S. 197,  210 (1982).  But, Rhode Island  has guarded
          _____          against this  contingency by requiring  that PACs  reveal a  wide          array  of information about their  goals and purposes.   See R.I.
                                                                   ___          Gen.  Laws   17-25-15(a);  see also supra  pp. 3-4.   The obvious
                                     ___ ____ _____          result  of  Rhode  Island's legislative  mosaic  is  that  when a          candidate discloses that a particular PAC has given to his or her          cause, state law ensures  that this fact will signify  more about          the  candidate's  loyalties than  the  disclosed  identity of  an          individual  contributor will  ordinarily convey.   We  think this          circumstance is properly considered, see  Storer, 415 U.S. at 743
                                               ___  ______          (explaining that  other state  requirements may be  considered in          evaluating  whether  a  disclosure  requirement  is  sufficiently          essential  to   repel  a  constitutional  challenge);   see  also
                                                                  ___  ____          Schaumburg v. Citizens for  a Better Env't, 444  U.S. 620, 637  &amp;
          __________    ____________________________          n.11 (1980); Let's  Help Fla.  v. McCrary, 621  F.2d 195,  200-01
                       ________________     _______          (5th  Cir. 1980), aff'd mem., 454 U.S. 1130 (1982), and it weighs
                            _____ ____                                          20

          heavily in our conclusion that the claimed justification for  the          added (first dollar disclosure)  burden that Rhode Island imposes          on PACs and PAC contributors is more illusory than real.                    In sum, R.I.  Gen. Laws    17-25-15(c)(1) has at  least          three grave weaknesses.  First, by mandating public revelation of          all  PAC contributors,  it burdens  the rights of  individuals to          band  together  for  the  purpose of  making  either  independent          election expenditures or direct political contributions.  Second,          by  imposing  this burden  on  PACs  and PAC  contributors  while          regulating  candidates  and certain  of  their  financial backers          (viz.,  individuals who contribute  directly to candidates rather
           ____          than to PACs) more loosely, the statute compounds  the unfairness          of the burden.  Finally, the disparity between the two disclosure          thresholds  (one for PACs  and the  other for  individuals), and,          hence,  the net  burden imposed  solely on  associational rights,          bears no substantial relation to the  attainment of any important          state interest.   Their cumulative effect  compels the conclusion          that the statute abridges the first amendment.10                    We  have  one more  stop  to make  before  leaving this          subject.    The amici  invite us  to  limit any  determination of                              
          ____________________               10In  light of  this determination,  we need  not  address a          further statutory anomaly:   that,  while most PACs  are held  to          first dollar disclosure under Rhode Island law, a select group of          PACs  enjoys preferential treatment.  See R.I. Gen. Laws   17-25-
                                                ___          15(c)(1)  (exempting PACs  sponsored  by labor  unions and  those          which are funded through payroll checkoff plans from first dollar          disclosure requirements).    Similarly, because  we  decide  that          Rhode  Island's first  dollar disclosure  provision impermissibly          burdens the right  to association, we need not  determine whether          it also violates the equal protection clause.                                          21

          unconstitutionality  to the  two  plaintiff PACs.   However,  the          cases relied on  by the  amici, see, e.g.,  FEC v.  Massachusetts
                                          ___  ____   ___     _____________          Citizens for Life, Inc., 479 U.S. 238 (1986); Brown, 459 U.S. 87,
          _______________________                       _____          involve  explicit as-applied  challenges to  particular statutes.          Here,  in contrast, plaintiffs  mounted a  facial attack  on R.I.          Gen. Laws   17-25-15(c)(1)  and the case proceeded below  on this          theory.  Moreover, the reason we  invalidate the statute concerns          the disparate treatment of PACs qua PACs, and, thus, obtains with
                                          ___          equal vigor regardless  of which particular PAC  may be involved.          This  is a  salient consideration in  determining what  remedy is          appropriate, see, e.g., Sec'y  of State v. Joseph H.  Munson Co.,
                       ___  ____  _______________    _____________________          467  U.S.  947, 967-68  (1984); City  Council  of Los  Angeles v.
                                          ______________________________          Taxpayers  for Vincent, 466 U.S.  789, 799-800 (1984),  as is the
          ______________________          fact that our reasoning does not derive its force from situation-          specific features.  See, e.g., National Treas. Employees Union v.
                              ___  ____  _______________________________          United States, 990 F.2d 1271, 1277-78 (D.C. Cir. 1993).  Finally,
          _____________          only the amici  have advocated the limitation-of-remedy  position          and  "[w]e know  of  no  authority  which  allows  an  amicus  to          interject into a case issues which the litigants, whatever  their          reasons might be,  have chosen to  ignore."  Lane v.  First Nat'l
                                                       ____     ___________          Bank,  871 F.2d  166,  175  (1st  Cir.  1989);  accord  McCoy  v.
          ____                                            ______  _____          Massachusetts  Inst. of Technology, 950 F.2d 13, 23 n.9 (1st Cir.
          __________________________________          1991), cert. denied, 112 S. Ct. 1939 (1992).  For these  reasons,
                 _____ ______          we decline the amici's invitation.11                              
          ____________________               11For  many  of  the  same  reasons,  we  cannot employ  the          statute's severability  provision, R.I. Gen. Laws    17-25-17, to          rescue any portion of the first dollar disclosure.                                          22

                      To recapitulate, then, we  reject both Rhode Island's          appeal  and the amici's importuning  that we apply  a Band-Aid in          lieu  of surgically  excising the  malignancy.   Consequently, we          uphold the permanent injunction  barring enforcement of R.I. Gen.          Laws   17-25-15(c)(1).  In striking down the statute, however, we          take  a narrower path than did  the court below.  As legislatures          must  tread  carefully in  this complicated  area, so,  too, must          courts.   We decline  to rule out  categorically the  legislative          tool  of  first  dollar  disclosure; that  tool  may  in  certain          contexts    although  not  here    serve sufficiently  compelling          government interests to be upheld.          III.  LEONARD'S APPEAL
          III.  LEONARD'S APPEAL                    We have arrived at Leonard's appeal.  Before addressing          the merits, we resolve the question of standing.                                    A.  Standing.
                                    A.  Standing.
                                        ________                    Standing  doctrine involves "a  blend of constitutional          requirements  and  prudential   considerations."    Valley  Forge
                                                              _____________          Christian Coll. v. Americans United for Separation of Church  and
          _______________    ______________________________________________          State, Inc., 454  U.S. 464,  471 (1982).   On the  constitutional
          ___________          side, Article  III limits  federal court adjudication  to matters          which achieve the stature  of justiciable cases or controversies.          Ordinarily,  this  means  that   a  party  invoking  the  court's          authority must show:  (1) that he or she has suffered some actual          or threatened injury  as a result  of the defendant's  putatively          illegal  conduct, (2) that the injury may fairly be traced to the                                          23

          challenged action, and (3) that a favorable decision will  likely          redress  the injury.   See  Riverside v.  McLaughlin, 111  S. Ct.
                                 ___  _________     __________          1661, 1667  (1991);  Valley Forge,  454  U.S. at  472.   We  have
                               ____________          cautioned that  "[t]he ingredients of standing  are imprecise and          not  easily susceptible  to  concrete definitions  or  mechanical          application."  United States v. AVX Corp., 962 F.2d 108, 113 (1st
                         _____________    _________          Cir. 1992).                    When declaring  her candidacy,  Leonard had to  make an          irrevocable  commitment  either  to  shun or  to  embrace  public          financing.  Leonard's testimony  suggests that, having decided to          forgo the embrace, she  had to structure her campaign  to account          for  her  adversaries'  potential  receipt  of  television  time,          fundraising advantages,  and  the  like.   Her  opponent  in  the          Republican primary, Mayor Levesque,  opted for public  financing.          Leonard  testified  that  Levesque  accepted  contributions  over          $1,000 while she had to turn away similar contributions.  What is          more, because one of  the two major candidates in  the Democratic          gubernatorial primary also opted  for public funding, Leonard had          to plan for  the possibility that  a publicly financed  candidate          would oppose her in the general election.                    Based on this and  other evidence, the district court's          finding  that  the  coerced  choice between  public  and  private          financing   "colored  [Leonard's]  campaign   strategy  from  the          outset," Vote  Choice, 814 F.  Supp. at 204,  seems unimpugnable.
                   ____________          In our view,  such an impact  on the strategy  and conduct of  an          office-seeker's  political campaign  constitutes  an injury  of a                                          24

          kind sufficient to confer standing.  See Buckley, 424 U.S. at  12
                                               ___ _______          &amp; n.10 (determining that standing existed in a case where certain          candidates  challenged disparate  rules  and contribution  caps);          Storer, 415 U.S. at  738 n.9 (noting that simply  being subjected
          ______          to  election law  requirements,  even indirectly,  may constitute          cognizable  injury);  see  also AVX  Corp.,  962  F.2d  at 113-14
                                ___  ____ __________          (defining  "injury").    Therefore, Leonard  satisfies  the first          furculum of the test.                    Leonard  also  possesses  the remaining  attributes  of          constitutional standing.   The injury she suffered  can be traced          directly to the  state's actions:  the  statutory provisions, and          the  Board's implementation  of  them, caused  the harm  of which          Leonard  complains.    As  to  redressability,  Leonard  seeks  a          permanent injunction  against continued  enforcement of the  very          statutes which  caused her injury.   This produces  the necessary          causal  connection  between the  injury  alleged  and the  relief          requested.12    See, e.g.,  Allen v.  Wright,  468 U.S.  737, 753
                          ___  ____   _____     ______          n.19 (1984).                    Over  and above  its  constitutional  requisites,  "the                              
          ____________________               12The Board suggests that this causal  link snapped once the          general election concluded, thereby rendering the case moot.   We          disagree.    There is  a  recognized  exception  to the  mootness          doctrine for  matters capable  of repetition yet  evading review.          This is  such a case.   The injury Leonard seeks  to palliate was          too  fleeting to be  litigated fully prior  to the climax  of the          gubernatorial   campaign  and,   since  there  is   a  reasonable          expectation that  Leonard will encounter the same barrier again            after all, she has not renounced possible future candidacies, and          politicians, as a rule, are not easily discouraged in the pursuit          of  high elective office   the exception applies.  See Democratic
                                                             ___ __________          Party  of the U.S. v.  Wisconsin, 450 U.S.  107, 115 n.13 (1981);
          __________________     _________          Bellotti, 435 U.S. at 774.
          ________                                          25

          doctrine of standing also  embodies prudential concerns regarding          the proper  exercise of  federal jurisdiction."   AVX  Corp., 962
                                                            __________          F.2d at 114.  Leonard's case qualifies on this score as well.  In          the interest of expedition,  we refer the reader who  hungers for          detail to the district court's erudite discussion  of this point.          See Vote Choice, 814 F.  Supp. at 204.  We add only  that Leonard
          ___ ___________          is asserting her own  rights and interests (not  someone else's);          that her grievances are particularized and concrete; and that her          claim  falls well within the  zone of interests  protected by the          first amendment.   No  more is exigible.   See, e.g.,  Allen, 468
                                                     ___  ____   _____          U.S.  at  751; Warth  v. Seldin,  422  U.S. 490,  499-500 (1975);
                         _____     ______          Association of Data Processing Serv. Orgs. v. Camp, 397 U.S. 150,
          __________________________________________    ____          153 (1970).  Thus, Leonard has standing to pursue her quest.                            B.  The Contribution Cap Gap.
                            B.  The Contribution Cap Gap.
                                ________________________                    Leonard has questioned  several different provisions of          the  statute.    We   turn  initially  to  her  claim   that  the          contribution  cap gap is inimical  to the first  amendment.13  In          reaching  this issue,  we stress  that Leonard  assails only  the          disparity  between the two caps; she voices no in vacuo challenge
                                                         __ _____          to  the $1,000 cap applicable to candidates, such as herself, who          eschew public funding.                    Leonard's serenade has  two themes.  Her major theme is                              
          ____________________               13Under  Rhode   Island  law,  contributions   to  political          campaigns are customarily capped  at $1,000 per donor.   See R.I.
                                                                   ___          Gen. Laws   17-25-10.1.   However, a candidate who  qualifies for          public  funds is entitled to receive  contributions in amounts up          to $2,000 per donor.   See id. at   17-25-30(3).   This disparity
                                 ___ ___          constitutes the contribution cap gap of which Leonard complains.                                          26

          that  regulatory   disparities  of   this  type   are  inherently          impermissible.   Her minor theme is that  the cap gap burdens her          first   amendment   rights   without  serving   a   corresponding          governmental   interest.     We   consider   these  asseverations          sequentially, affording plenary review.  See LeBlanc, 992 F.2d at
                                                   ___ _______          396.                    1.  The Per  Se Challenge.  Leonard's per  se challenge
                    1.  The Per  Se Challenge.
                        _____________________             ___  __          to the contribution  cap gap  boils down to  the assertion  that,          whenever  government  constructs  incentives  for  candidates  to          accept fundraising  limits, it departs from its  required role as          an umpire and  becomes a  player in the  electoral process,  much          like, say, a referee who eases the rules for one team and not the          other.    The  most immediate  barrier  to  the  success of  this          argument is that the Supreme  Court has upheld a very direct  and          tangible incentive:   the provision of public funds to candidates          who  agree  to  place  decreased  reliance  on  private  campaign          contributions.   See  Buckley,  424  U.S.  at  85-109;  see  also
                           ___  _______                           ___  ____          Republican  Nat'l  Comm.  v.  FEC,   487  F.  Supp.  280,  283-86
          ________________________      ___          (S.D.N.Y.) (three-judge court) (RNC I), aff'd mem., 445 U.S.  955
                                          _____   _____ ____          (1980); Republican Nat'l  Comm. v. FEC,  616 F.2d 1, 2  (2d Cir.)
                  _______________________    ___          (en  banc) (adopting reasoning of RNC  I in parallel proceeding),
           __  ____                         ______          aff'd mem., 445 U.S. 955 (1980).
          _____ ____                    In  a Briarean  effort to  scale this  barrier, Leonard          attempts to  distinguish the public financing cases on the ground          that  they  involve  the  propriety  of  conferring  benefits  in          contrast to imposing penalties.  She is fishing in an empty pond.                                          27

          For  one thing,  the distinction that  Leonard struggles  to draw          between denying the  carrot and  striking with the  stick is,  in          many  contexts,  more  semantic  than  substantive.    This  case          illustrates  the  point.   The  question  whether Rhode  Island's          system  of public  financing imposes  a penalty  on non-complying          candidates  or, instead, confers a benefit on those who do comply          is a non-issue,  roughly comparable to  bickering over whether  a          glass is  half full or half  empty.  After all,  there is nothing          inherently penal about a $1,000 contribution cap.                    For another thing, to the degree that the question does          have  a concrete answer, the  answer appears contrary  to the one          Leonard suggests.  Leonard has adduced no legislative  history or          other  evidence suggestive  of punitive  purpose.   Moreover, the          Rhode Island statute sets up a $1,000 cap as the norm and doubles          the  cap only  if a  candidate meets  certain conditions.   Logic          suggests that the higher  cap is, therefore, a premium  earned by          meeting statutory eligibility requirements rather  than a penalty          imposed  on those  who  either cannot  or  will not  satisfy  the          requirements.                      Third, the  blurred line  between  benefit denials  and          penalties  is  singularly  unhelpful  in the  zero-sum  world  of          elective politics.   Because a head-to-head election has a single          victor, any benefit conferred on  one candidate is the  effective
                  ___          equivalent  of a penalty imposed  on all other  aspirants for the          same  office.   In  the  last analysis,  then,  Leonard's fancied          distinction proves too much.                                          28

                    While these  three reasons  spell defeat  for Leonard's          attempt to distinguish the public financing cases as different in          kind from this case, Leonard also proffers a difference-in-degree          distinction.     Even  if  some  regulatory   incentives  may  be          permissible, she  says, Rhode  Island's incentives are  so strong          that  they  destroy the  voluntariness  of  the public  financing          system and, therefore, cannot be condoned.                    We agree  with Leonard's  main premise:   voluntariness          has  proven to be an important factor in judicial ratification of          government-sponsored  campaign financing  schemes.    See,  e.g.,
                                                                ___   ____          Buckley, 424  U.S. at 95;  RNC I, 487  F. Supp. at  285.  Coerced
          _______                    _____          compliance   with   fundraising   caps  and   other   eligibility          requirements would raise serious,  perhaps fatal, objections to a          system like Rhode  Island's.   Furthermore, there is  a point  at          which  regulatory  incentives  stray beyond  the  pale,  creating          disparities so profound that  they become impermissibly coercive.          It is, however, pellucid that no such compulsion occurred here.                    Rhode  Island's law  achieves  a rough  proportionality          between   the  advantages   available  to   complying  candidates          (including the cap gap) and the restrictions that such candidates          must  accept to  receive  these advantages.14   Put  another way,                              
          ____________________               14Indeed,  the   specific  facts  of   Rhode  Island's  1992          gubernatorial  contest support  the conclusion  that the  state's          catalog  of  incentives  is  neither  overly  coercive  nor  even          especially attractive.   Both  Leonard and Governor  Sundlun (who          prevailed  in  the  Democratic  primary and  eventually  won  the          general election)  resisted  the temptations  of  public  funding          despite facing  (a) an opponent in the  primary who had opted for          public funding and  (b) a substantial possibility that  the other          party's candidate in the general election would be receiving such                                          29

          the  state exacts  a  fair  price  from complying  candidates  in          exchange  for receipt of the challenged benefits.  While we agree          with Leonard that Rhode Island's statutory scheme is not in exact          balance    we suspect  that very  few campaign financing  schemes          ever  achieve perfect equipoise   we disagree with her claim that          the  law is unfairly coercive.   Where, as  here, a non-complying          candidate  suffers no  more than  "a countervailing  denial," the          statute does not go too far.  Buckley, 424 U.S. at 95.
                                        _______                    To sum up, the implication  of the public funding cases          is that the government may legitimately provide candidates with a          choice  among  different  packages  of  benefits  and  regulatory          requirements.  Rhode Island has done nothing more  than implement          this  principle.  We see no sign  that the state has crossed into          forbidden territory;  the contribution cap gap,  as structured by          the  Rhode Island  General  Assembly,  neither penalizes  certain          classes   of   office-seekers   nor   coerces   candidates   into          surrendering their first amendment rights.  In short, Leonard has          identified  no  inherent  constitutional  defect  in the  state's          voluntary, choice-increasing framework.                    2.  The Burden/Justification  Matrix.  Leonard keeps on
                    2.  The Burden/Justification  Matrix.
                        ________________________________          trucking.    She asserts  that,  even  if the  cap  gap does  not          penalize or  coerce, it  nonetheless burdens her  first amendment          rights without sufficient justification.  The assertion stalls.                    In the first place, we have difficulty believing that a          statutory  framework  which  merely  presents  candidates with  a                              
          ____________________          funds.                                          30

          voluntary  alternative  to  an  otherwise  applicable,  assuredly          constitutional,  financing option  imposes  any  burden on  first          amendment rights.   In choosing  between the ordinary  methods of          financing a campaign    methods which  are themselves subject  to          certain restrictions   and the public funding alternative   which          limits  both  fundraising and  expenditures     a candidate  will          presumably  select the option which enhances his or her powers of          communication and association.   See Buckley, 424 U.S.  at 92-93;
                                           ___ _______          RNC I,  487 F.  Supp. at  285.   Thus, it  seems likely  that the
          _____          challenged   statute  furthers,   rather  than   smothers,  first          amendment values.                    In the second place, even if the cap gap burdens a non-          complying  candidate's  first  amendment  rights  to  some  small          extent, and assuming for argument's sake that the state bears the          devoir  of  persuasion  in   respect  to  whether  the  statutory          framework  is  both  in  service  to  a  compelling  governmental          interest and tailored  in a sufficiently narrow manner,  we would          still  find Leonard's thesis unpersuasive.  The state need not be          completely  neutral   on  the  matter  of   public  financing  of          elections.   When, as now,  the legislature has  adopted a public          funding  alternative, the  state  possesses a  valid interest  in          having candidates  accept public financing because  such programs          "facilitate communication  by  candidates with  the  electorate,"          Buckley,  424 U.S. at 91,  free candidates from  the pressures of
          _______          fundraising, see id., and,  relatedly, tend to combat corruption.
                       ___ ___          See id.;  see also RNC I,  487 F. Supp. at  285-86.  Establishing
          ___ ___   ___ ____ _____                                          31

          unequal  contribution caps  serves this  multifaceted network  of          interests by making it more  probable that candidates will choose          to  partake of  public  financing.   Equally  important, the  gap          appears to  reflect  a carefully  calibrated  legislative  choice          anent the differential risk of quid pro quo corruption in the two
                                         ____ ___ ___          instances.     In   the  state's   view,  the   many  eligibility          requirements  for  public financing  make it  less likely  that a          given  contribution will  tend to  corrupt  a candidate.15   That          view, too, is plausible.   Ergo, the contribution cap  gap stands          on reasonably solid theoretical footing.                    For these reasons, we find Rhode  Island's contribution          cap gap narrowly tailored and logically related, in  scope, size,          and  kind, to  compelling governmental  interests.16   That being                              
          ____________________               15To  cite  an example,  once it  is  clear that  a publicly          financed candidate's  campaign can reach  the overall fundraising          limits, see R.I. Gen. Laws    17-25-20(2), any single contributor
                  ___          to that  campaign becomes less important  because the contributor          can be  "replaced" at no marginal cost.  In other words, the fact          that the campaign  seems bound to  reach the fundraising  ceiling          means that a  given contributor is occupying  a contribution slot          that could  as easily  be occupied  by someone  else.  With  this          distinction in the importance  of individual contributors comes a          corresponding  diminution   in  the   risk  of   corruption  and,          therefore, a diminished justification for  stringent contribution          limits.  See, e.g., Buckley, 424 U.S. at 91, 96.
                   ___  ____  _______               16We  add a caveat.   We  do not in  any way  imply that the          contribution  cap  gap is  constitutionally  mandated.   A  state          legislature could certainly conclude that a $2,000 contributor to          a  campaign complying with  the spending limits  actually holds a          greater sway with the candidate than does a $1,000 contributor to          an unlimited campaign because the former contribution represents,          in most cases, a greater percentage of the candidate's kitty than          does the latter.  But, the legislature must have a certain amount          of operating  room in this sphere.   The first amendment does not          require  the   courts  to   choose  sides,  at   this  level   of          particularity, in the flux and reflux of policy considerations.                                          32

          so,  it would  be  unduly meddlesome,  hence,  wrong, for  us  to          substitute our own  assessment of either an  incentive's value or          the perceived risks to  which it is addressed for  the considered          judgment  of a state legislature.   See Nat'l  Right to Work, 459
                                              ___ ____________________          U.S. at 210 (expressing reluctance to "second-guess a legislative          determination  as to  the  need for  prophylactic measures  where          corruption  is the evil feared");  Baker v. City  of Concord, 916
                                             _____    ________________          F.2d  744, 750 (1st Cir. 1990) (discussing impropriety of federal          courts second-guessing a state's legislative judgments).                    3.  Recapitulation.  We hold that states may  sometimes
                    3.  Recapitulation.
                        ______________          legitimately confront  candidates  with the  option  of  choosing          among different packages of benefits and regulatory requirements.          We hold further that  such a permissible choice occurs  where, as          here,  there is no credible evidence of a penalizing purpose, the          choice between  the packages is real, uncoerced, and available to          all,  the status quo option, standing alone, raises no red flags,          and the  challenged disparity is narrowly  tailored and logically          related,  in scope,  size, and  kind, to  compelling governmental          interests.   See, e.g., Buckley, 424 U.S. at 29, 35-36 (upholding
                       ___  ____  _______          disparate contribution  caps for individuals and  PACs).  Because          Rhode Island's contribution cap gap does not penalize, coerce, or          unjustifiably burden  first amendment rights, the  district court          appropriately upheld the challenged provision.17                              
          ____________________               17We do not tarry over Leonard's claim that the contribution          cap  gap  violates her  right to  equal  protection.   First, the          statute does not impose unequal treatment but gives candidates an          authentic  choice.     Second,  the   statute  treats  candidates          differently  on  the basis  of  their actions  rather  than their                                          33

                       C.  The Free-Television-Time Provisions.
                       C.  The Free-Television-Time Provisions.
                           ___________________________________                    We now  examine  Leonard's remonstrance  against  Rhode          Island's  offer of free television time  to candidates who comply          with the eligibility  criteria for public  financing.  Since  the          issues are purely legal, we afford plenary review.                    1.   Setting  the  Stage.    To  understand  the  free-
                    1.   Setting  the  Stage.
                         ___________________          television-time incentives  that have raised Leonard's hackles, a          further exegesis is helpful.  Under this heading, Leonard attacks          two  different  grants  of in-kind  assistance  to  gubernatorial          candidates who accept  public financing.   One such incentive  is          limned  in  R.I.  Gen.  Laws     17-25-30(1),  which  entitles  a          complying   candidate  to   "free   time  on   community  antenna          television"  pursuant  to rules  to  be formulated  by  the state          Division  of   Public  Utilities   (DPU).18    The   second  such                              
          ____________________          beliefs    actions  which,  as we  have  seen, possess  differing          implications for the integrity and effectiveness of the electoral          process.   The equal protection  clause does  not interdict  such          classifications.   See, e.g.,  Bray v. Alexandria  Women's Health
                             ___  ____   ____    __________________________          Clinic,  113   S.  Ct.  753,  760-62   (1993)  (collecting  cases
          ______          illustrating  courts' denials of  equal protection claims despite          statutes' unintended  disparate  effects on  protected  classes);          Buckley,  424  U.S. at  95  (upholding  against equal  protection
          _______          attack   a  system   which  actually   excluded  minority   party          candidates);  Jenness v.  Fortson,  403 U.S.  431, 441-42  (1971)
                        _______     _______          (rejecting  equal  protection  challenge  to   election  law  and          observing that "[s]ometimes the  grossest discrimination can  lie          in treating things that are different as though they were exactly          alike").               18Community  antenna   television  (CATV)   is  a   form  of          television  cablecasting regulated  by the state  DPU.   See R.I.
                                                                   ___          Gen. Laws    39-19-6.   Under current regulations  and applicable          franchise agreements,  cable operators dedicate one  or more CATV          channels  to the state  to ensure public  access.   See DPU Rules
                                                              ___          Governing CATV Systems,   14.1 (Jan. 14, 1983 rev.).  The parties          do  not   dispute  the   DPU's  authority  to   write  additional          regulations  implementing section  17-25-30(1) by  providing free                                          34

          incentive is  outlined in  R.I.  Gen. Laws    17-25-30(2),  which          entitles  a  complying candidate  to  "free  time on  any  public          broadcasting  station"  operating under  the jurisdiction  of the          Rhode Island Public Telecommunications Authority (PTA).19                    2.    Preemption.     Leonard's  attack  on  the  free-
                    2.    Preemption.
                          __________          television-time  provisions proceeds  on two fronts.   Initially,          she contends  that the Federal Communications  Act (FCA) preempts          conflicting  state laws, and that R.I. Gen. Laws   17-25-30 comes          within  this  proscription.20   We  find  no such  irreconcilable          conflict.                    The FCA reads in relevant part:                    If any  licensee shall permit  any person who                    is  a legally qualified  candidate for public                    office to use a broadcasting station [or CATV                    system], he shall afford  equal opportunities                    to all  other such candidates for that office                    in  the use of  such broadcasting station [or                    CATV system].          47 U.S.C.   315(a), (c).  This guarantee of equal opportunity has                              
          ____________________          CATV  time to  candidates.   By  like token,  the parties  do not          dispute that, if the DPU did promulgate such regulations, federal          communications law would apply.               19The state, through the PTA, owns and controls the air time          provided by section 17-25-30(2).  The PTA is a public corporation          empowered to hold property  and licenses in trust for  the state.          See R.I. Gen. Laws    16-61-2.  As such,  the PTA is required  to
          ___          "establish, own and operate" public broadcasting in the state, to          "apply for,  receive and  hold" the  necessary licenses from  the          Federal Communications  Commission, and to  exercise control over          programming on public television stations.  See id. at   16-61-6.
                                                      ___ ___          We take judicial notice that the PTA currently operates  WSBE-TV,          Channel 36.               20Leonard  does  not  argue  that  Congress preempted  state          regulation by  occupying the  entire communications field.   See,
                                                                       ___          e.g., Schneidewind v. ANR Pipeline Co., 485 U.S. 293, 300 (1988);
          ____  ____________    ________________          French v. Pan Am Express, Inc., 869 F.2d 1, 4 (1st Cir. 1989).
          ______    ____________________                                          35

          both  quantitative and  qualitative dimensions.   See  Paulsen v.
                                                            ___  _______          FCC, 491 F.2d 887, 889  (9th Cir. 1974).  Among other  things, it
          ___          "encompasses  such elements  as  hour of  the day,  duration, and          charges."   Kennedy for President Comm. v. FCC, 636 F.2d 432, 438
                      ___________________________    ___          (D.C. Cir. 1980).                    Whether this federal  guarantee preempts Rhode Island's          free-television-time provisions depends  upon how one  interprets          state law.  Leonard argues that in explicitly guaranteeing state-          controlled television  time to qualifying candidates  at no cost,          the  state  intends to  exclude  all  other (non-publicly-funded)          candidates  from receiving comparable  treatment.   Any alternate          interpretation  of  the  statute,  she claims,  would  render  it          purposeless.                    We think Leonard's argument is  deeply flawed.  When  a          statute provides a benefit  to some, it does not  necessarily bar          receipt of the benefit by others.  Cf., e.g., Bowen v. Owens, 476
                                             ___  ____  _____    _____          U.S. 340,  347 (1986)  (explaining that a  legislative body  "may          take one  step at a time,  addressing itself to the  phase of the          problem  which  seems  most   acute  to  the  legislative  mind")          (citation and internal quotation  marks omitted); Baker, 916 F.2d
                                                            _____          at  748 (holding  that a  state legislature  may constitutionally          elect  to  address  "only  one  aspect  or a  few  aspects  of  a          multifaceted problem").  Put in concrete terms applicable to this          case,  the Rhode  Island statute  grants free television  time to          candidates who embrace public  funding   but it does  not purport          to prevent  privately financed  candidates from reaping  the same                                          36

          benefit if  some  other law     here, the  FCA    requires  equal          treatment.                    It  is,  moreover,   axiomatic  that,   when  a   state          legislature  has sounded  an uncertain  trumpet, a  federal court          charged with interpreting the  statute ought, if possible, choose          a  reading that  will harmonize  the statute  with constitutional          understandings  and  overriding federal  law.   See 1A  Norman J.
                                                          ___          Singer, Sutherland Statutory Construction   23.21 (4th ed. 1985 &amp;
                  _________________________________          Supp.   1993)  (collecting   Supreme   Court   cases);  EEOC   v.
                                                                  ____          Massachusetts, 987 F.2d 64, 70 (1st Cir. 1993).  We believe these
          _____________          principles apply full bore to R.I. Gen. Laws   17-25-30.                    We refuse  to read Rhode Island's  provision of in-kind          benefits  in  the   overbold  fashion  that   Leonard  envisions.          Instead, we interpret the statute  to mean what it says and  only          what  it says:   it  entitles publicly  funded candidates  to use          state-controlled television channels without charge   but it does          nothing to  interfere with, and does  not contemplate interfering          with, the  rights of  privately financed  candidates who  wish to          petition  for equal  time and  treatment under  47 U.S.C.    315.          Contrary  to Leonard's  suggestion, this interpretation  does not          emasculate  R.I.  Gen.  Laws     17-25-30(1)  &amp;  (2); indeed,  by          harmonizing  the  statutory  provisions   with  federal  law  and          avoiding   possible   preemption,   the    interpretation   lends          considerable vitality to the will of the state legislature.  What          is  more, the  provisions,  so construed,  further a  substantial          purpose:  subsidizing all publicly funded candidates by providing                                          37

          them with access to  free television time.   In other words,  the          state law makes the public  financing program more attractive not          because complying candidates  receive something which their  non-          complying counterparts  do  not, but,  rather, because  complying          candidates can  be confident that the  expenditure limits imposed          in  consequence of  the acceptance  of public financing  will not          prevent them from getting their message to the voters.                    The bottom  line  reads  as  follows:    there  are  no          indications    textual or otherwise    that Rhode  Island's free-          television-time   provisions   aim   to  preclude   non-complying          candidates  from seeking  either equal  time or  equal treatment;          there is a plausible interpretation of the state  enactment which          reconciles   it   with   overriding   federal   law;   and   this          interpretation gives the statute meaning without jeopardizing its          validity.   Because  we  read the  state  law in  this  way,21 47          U.S.C.   315 does not preempt R.I. Gen. Laws   17-25-30(1) &amp; (2).                    3.   Excessive Entanglement.  Leonard has one last shot
                    3.   Excessive Entanglement.
                         ______________________          in her  sling.  She urges that the provision of in-kind benefits,          such  as  free  television  time,  has  a  dangerous  tendency to          entangle   government  in  the  internal  workings  of  political          campaigns.                    The   electoral  process  is  guided  by  legislatively                              
          ____________________               21This interpretation of R.I.  Gen. Laws   17-25-30 requires          that  we  reject   three  other  disparity-presuming  contentions          advanced by  Leonard.  Read in  the manner that we  deem fitting,          the statute neither (1) penalizes a  candidate for exercising his          or her  right  to  boycott  public financing,  (2)  denies  equal          protection  of the laws to such a candidate, nor (3) destroys the          voluntariness of the public financing program.                                          38

          articulated  rules  designed to  ensure  fairness.   A  fine, but          important,  line  exists  between this  salutary  rulemaking  and          meddlesome  interference in the conduct of elections.  There is a          point where government involvement  in the operation of political          campaigns may become so pervasive  as to imperil first  amendment          values.   Were  a  state to  loan  out  its workers  as  campaign          consultants,   for   example,   voters   and   candidates   might          legitimately complain that it had gone beyond laying down general          rules  for  office-seekers  and  begun tampering  with,  or  even          manipulating,  the  electoral process.   Such  entanglement could          conceivably  prevent the first  amendment from  accomplishing its          fundamental  mission in respect to political  speech:  "to secure          the widest possible dissemination of information from diverse and          antagonistic  sources, and  to assure  unfettered  interchange of          ideas for  the bringing  about of  political  and social  changes          desired by the  people."  Buckley, 424 U.S. at  49 (citations and
                                    _______          internal  quotation marks  omitted).   In short,  entanglement of          this  insidious  stripe  runs too  great  a  risk  of creating  a          convergence of pro-government voices.                    Mindful of these concerns, courts must carefully review          legislative  enactments that  potentially entangle  government in          partisan political  affairs.  In-kind incentives  carry the seeds          of  potential  overinvolvement,  especially  when  they implicate          access to  state-run organs of communication.   Nevertheless, the          first amendment does  not rule out  all in-kind offerings  simply          because some of them may be too entangling.  See, e.g., id. at 93
                                                       ___  ____  ___                                          39

          n.127  (noting   that  the   government's  extension   of  postal          privileges furthers first amendment  values).  Legislative bodies          (and,  ultimately,  courts)  must  separate   wheat  from  chaff,          recognizing that, while some  in-kind benefits may be excessively          entangling,  others represent  valid  and innovative  attempts to          confront new  concerns in  the ever-changing world  of democratic          elections.                    In  our  view,  there   is  a  spectrum  of  government          subsidization  ranging from pure white  and light gray    a range          that  would  include  such  relatively  unintrusive  measures  as          supplying public  funding on politically  neutral terms    to jet          black and navy blue   a range that would subsume such  relatively          intrusive measures  as furnishing  campaign  workers to  specific          candidates.   The  closer an  arrangement  trenches to  the  non-          intrusive end of the spectrum, the less likely it is to fall prey          to a facial  challenge grounded  in the first  amendment.   After          all, so long as interference is slight, offering in-kind benefits          actually   furthers   first   amendment  values   by   increasing          candidates'  available choices  and  enhancing their  ability  to          communicate.  See id. at 92-93. 
                        ___ ___                    In this  case, Leonard has advanced  no concrete reason          for  believing  that  the  free-television-time  provisions  will          excessively  entangle the  state  in the  day-to-day details  and          decisions of the campaign.   Because applicable federal laws  and          regulations require  equal time  and treatment for  all competing          candidates insofar  as the electronic media  are concerned, there                                          40

          is  no appreciable  danger of lopsided  state involvement  in the          intricate process of scheduling  television appearances.  By like          token, there  is  no  demonstrable  risk that  state  power  will          influence  candidates'  speech in  a  way  that undermines  first          amendment   values.     Accordingly,   there  is   no   excessive          entanglement.  See, e.g., id. at 93 n.126 (concluding that claims
                         ___  ____  ___          of  excessive  governmental  involvement  in  respect  to  public          funding  of  political  campaigns were  "wholly  speculative  and          hardly a basis for [facial] invalidation").          IV.  CONCLUSION
          IV.  CONCLUSION                    In its journey to ensure the integrity of the electoral          process,  a  state legislature  must  march  across the  hallowed          ground  on which  fundamental first  amendment rights  take root.          The  terrain must  be  negotiated with  circumspection and  care:          disparities, in whatever guise, are not casually to be condoned.                    Here, the  Rhode Island General Assembly  traversed the          minefield with mixed  results.  The disclosure threshold  for PAC          contributors,  as   contrasted  with  the   different  disclosure          threshold    for   contributors   to   candidates,   creates   an          impermissible disparity  violative of  associational  rights.   A          second claimed disparity, involving  the contribution cap gap is,          in part due  to its relatively  small size, non-penalizing,  non-          coercive,  justifiable,  and,  hence, constitutional.    For  all          intents and  purposes, the  third claimed disparity  is virtually          non-existent:  given the  imperatives of extant federal  law, the          free-television-time  provisions  of  the  state  statute  do not          produce  significant  differences in  the  benefits available  to          various candidates for the same office.  Thus, we, like the court                                          41

          below,   find   that  R.I.   Gen.   Laws      17-25-15(c)(1)   is          unconstitutional, but  that the  plaintiffs' challenges  to other          portions of Rhode Island's campaign finance law are bootless.                    Nihilo ulterius requiremus pergere.  The judgment below
                    ______ ________ __________ _______          will be          Affirmed.
          Affirmed.
          ________                                          42


